            Case 4:17-cv-06255-YGR         Document 72      Filed 11/14/18      Page 1 of 45



 1
     Jahan C. Sagafi (SB# 224887)                   Adam T. Klein (admitted pro hac vice)
 2   Rachel W. Dempsey (SB# 310424)                 OUTTEN & GOLDEN LLP
     Laura Iris Mattes (SB# 310594)                 685 Third Avenue, 25th Floor
 3   OUTTEN & GOLDEN LLP                            New York, New York 10017
     One California Street, 12th Floor              Telephone: (212) 245-1000
 4   San Francisco, CA 94111                        Facsimile: (646) 509-2060
     Telephone: (415) 638-8800                      E-mail: atk@outtengolden.com
 5   Facsimile: (415) 638-8810
     E-mail: jsagafi@outtengolden.com
 6   E-mail: rdempsey@outtengolden.com
     E-mail: imattes@outtengolden.com
 7
     Rachel M. Bien (SB# 315886)
 8   OUTTEN & GOLDEN LLP
     601 S Figueroa St., Suite 4050
 9   Los Angeles, CA 90017
     Telephone: (323) 673-9900
10   Facsimile: (646) 509-2058
     E-mail: rmb@outtengolden.com
11
     Counsel for Plaintiffs and Settlement Class Members
12

13                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                   OAKLAND DIVISION
15    ROXANA DEL TORO LOPEZ and ANA                   Case Number: 17-cv-06255-YGR
      MEDINA, on behalf of themselves and all
16    others similarly situated,                      [PROPOSED] ORDER GRANTING
17                                                    FINAL APPROVAL OF SETTLEMENT
                    Plaintiffs,
                                                      AND FINAL JUDGMENT
18           v.
                                                      *as modified by the Court*
19    UBER TECHNOLOGIES, INC.,
20                  Defendant.
21

22

23

24

25

26

27

28
                                                                  [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                       FINAL JUDGMENT
                                                                                CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR           Document 72        Filed 11/14/18      Page 2 of 45




 1          On November 6, 2018, a hearing was held on the unopposed motion of Plaintiffs Roxana

 2   del Toro Lopez and Ana Medina (“Plaintiffs”) for final approval of the class settlement (Dkt. No.

 3   59); and on the separate motion of Plaintiffs and their counsel for awards of the Class

 4   Representative Service Payments and the Class Counsel Attorneys’ Fees and Costs Payment

 5   (Dkt. No. 60). Jahan C. Sagafi and Iris Mattes appeared for Plaintiffs. Nancy Abell appeared for

 6   Defendant Uber Technologies, Inc. (“Uber”).

 7          The Parties have submitted their Stipulation of Class Settlement and Release (Dkt. No.

 8   61-1 (the “Settlement”)), attached hereto as Exhibit 1, which this Court preliminarily approved in

 9   its April 19, 2018 order (Dkt. No. 49 (the “Preliminary Approval Order”)). In accordance with

10   the Preliminary Approval Order, Class Members have been given notice of the terms of the

11   Settlement and the opportunity to submit a claim form, comment on the settlement, and/or opt

12   out of its provisions. In addition, pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §

13   1715 (“CAFA”), Uber has given the Attorney General of the United States and the appropriate

14   state officials in the states in which the Class Members reside timely notice of the Settlement.

15          Having received and considered the Settlement, the supporting papers filed by the Parties,

16   and the evidence and argument received by the Court at the final approval hearing on November

17   6, 2018, by means of this order (the “Final Approval Order”) the Court GRANTS final approval

18   of the Settlement, and HEREBY ORDERS and MAKES DETERMINATIONS as follows:

19          Definitions

20          1.      Except as otherwise specified herein, the Court for purposes of this Final

21   Approval Order adopts all defined terms set forth in the Settlement.

22          Jurisdiction

23          2.      This Court has jurisdiction over the subject matter of this litigation and all related

24   matters and all state and federal claims raised in this action and released in the Settlement, and

25   personal jurisdiction over Uber and all Class Members (except for those who timely filed opt-out

26   requests). Specifically, this Court has federal question jurisdiction over this action pursuant to

27

28
                                                                       [PROPOSED] FINAL APPROVAL ORDER AND
                                                  -1-                                       FINAL JUDGMENT
                                                                                     CASE NO. 17-CV-06255-YGR
           Case 4:17-cv-06255-YGR            Document 72        Filed 11/14/18      Page 3 of 45




 1   28 U.S.C. § 1331 and section 16(b) of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §

 2   216(b).

 3             3.    This Court also has supplemental jurisdiction over all state-law claims asserted by

 4   Plaintiffs because the state-law claims derive from a common nucleus of operative fact and form

 5   part of the same case or controversy as those claims over which the Court has primary

 6   jurisdiction. See 28 U.S.C. § 1367 (providing for supplemental jurisdiction over related

 7   state-law claims that “form part of the same case or controversy”); United Mine Workers

 8   of Am. v. Gibbs, 383 U.S. 715, 726 (1966) (holding that federal courts have supplemental

 9   jurisdiction over state law claims that arise from the same “common nucleus of operative fact”

10   such that the parties “would ordinarily be expected to try them all in one judicial proceeding”).

11             4.    This Court also has jurisdiction to approve the Settlement’s release of claims by

12   Class Members over which the Court has jurisdiction, even if the Court would not independently

13   have jurisdiction over those released claims. See Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442

14   F.3d 741, 748 (9th Cir. 2006) (“[A] federal court may release not only claims alleged in the

15   complaint, but also state claims arising from the same nucleus of operative facts over which the

16   court would not have jurisdictional competence.”) (quoting Class Plaintiffs v. City of Seattle, 955

17   F.2d 1268, 1287–88 (9th Cir. 1992)).

18             Dissemination of Notice to Class Members

19             5.    Pursuant to the Preliminary Approval Order, the notice documents were sent to

20   each Class Member by email and by first-class mail. The notice was clear and organized,

21   following the model forms provided by the Federal Judicial Center at www.fjc.gov. The notice

22   materials informed Class Members of the terms of the Settlement, how their settlement share of

23   Fund A would be calculated, how to submit a Claim Form, the conditions of eligibility for a

24   settlement share of Fund B, their right to comment on (including object to) the Settlement or opt

25   out of the Settlement to pursue their claims individually, and their right to appear in person or by

26   counsel at the final approval hearing and be heard regarding approval of the Settlement.

27   Adequate periods of time were provided by each of these procedures.

28
                                                                       [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                            FINAL JUDGMENT
                                                  -2-                                CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR            Document 72        Filed 11/14/18      Page 4 of 45




 1          6.      The Court finds and determines that this notice procedure afforded adequate

 2   protections to Class Members and provides the basis for the Court to make an informed decision

 3   regarding approval of the Settlement based on the responses of Class Members. Notice was

 4   accomplished in the manner prescribed by the Settlement. The Court finds and determines that

 5   the notice provided in this case was the best notice practicable, which satisfied the requirements

 6   of law and due process.

 7          Notice to Attorneys General Pursuant to CAFA

 8          7.      Pursuant to CAFA, within ten days after the filing of the motion seeking

 9   preliminary approval of the Settlement, Uber served upon the Attorney General of the United

10   States and the appropriate state officials of the states in which the Class Members reside a notice

11   of the Settlement consisting of: a copy of the complaint in this action; a notice of the scheduled

12   judicial hearing in this action; copies of the Settlement; and the proposed Notice. The Notice of

13   Settlement also invited comment on the Settlement. This Final Approval Order is being entered

14   at least 90 days after the later of the dates on which the appropriate federal and state officials

15   were served with the notice of proposed settlement.

16          8.      The Court finds and determines that Uber’s notice of Settlement was timely,

17   adequate, and compliant with the statutory requirements of CAFA. Accordingly, 28 U.S.C.

18   §1715(e) has no application to the Settlement.

19          Certification Under Fed. R. Civ. P. 23 and the FLSA

20          9.      For the reasons stated in the Preliminary Approval Order, this Court finds and

21   determines that the proposed Settlement Class, as defined in Section 1 of the Settlement and in

22   Section II.A of its Preliminary Approval Order, meets all of the legal requirements for class

23   certification under Federal Rule of Civil Procedure 23 (“Rule 23”) (a) and (b)(3), and it is hereby

24   ordered that the Settlement Class is finally approved and certified as a Class for purposes of

25   settlement of this action.

26          10.     This Court finds and determines that the action meets all of the legal requirements

27   for certification as a collective action under section 16(b) of the FLSA, 29 U.S.C. § 216(b), for

28
                                                                        [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                             FINAL JUDGMENT
                                                   -3-                                CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR            Document 72         Filed 11/14/18      Page 5 of 45




 1   the three-year period preceding the filing of Plaintiffs’ complaint, and it is hereby ordered that

 2   the action is certified as a collective action for purposes of settlement of this action.

 3          Fairness

 4          11.     Pursuant to Rule 23(e), the Court further finds and determines that the terms of

 5   the Settlement are fair, reasonable, and adequate to the Class and to each Class Member and that

 6   the Class Members who have not opted out will be bound by the Settlement, that the Settlement

 7   is ordered finally approved, and that all terms and provisions of the Settlement should be and

 8   hereby are ordered to be consummated. The Court specifically finds that the Settlement is

 9   rationally related to the strength of Plaintiffs’ claims given the risk, expense, complexity, and

10   duration of further litigation. This Court also finds that the Settlement is the result of arms’-

11   length negotiations between experienced counsel representing the interests of the Class Members

12   and Uber, under the supervision of an experienced and independent third-party mediator, after

13   thorough factual and legal investigation. Staton v. Boeing Co., 327 F.3d 938, 960 (9th Cir.

14   2003); Class Plaintiffs, 955 F.2d at 1291.

15          12.     The Court finds and determines that the payments to be made to the Class

16   Members as provided for in the Settlement, Section 5, are fair and reasonable. The proposed

17   plan of allocation bases each Class Member’s recovery on (a) the number of weeks during the

18   Covered Period the Class Member worked, (b) the Class Member’s position, (c) whether the

19   Class Member worked in California, (d) when the Class Member was employed with Uber, (e)

20   whether the Class Member worked full-time or part-time, (f) whether the Class Member

21   previously signed a release of claims, and (g) whether the Class Member submitted a Claim

22   Form and the contents of the Claim Form. The plan of allocation is rational. The Court hereby

23   gives final approval to the payments and orders those amounts be paid to the claimants out of the

24   Net Fund value in accordance with the terms of the Settlement.

25          Class Member Response

26          13.     The Court further finds that the response of the Class Members to the Settlement

27   supports settlement approval. Of the 485 Class Members, only two opted out of the Settlement.

28
                                                                         [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                              FINAL JUDGMENT
                                                   -4-                                 CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR            Document 72        Filed 11/14/18       Page 6 of 45




 1   No Class Members objected to the Settlement.

 2          Appointment of Class Representatives and Class Representative Service Awards

 3          14.     The Court confirms as final the appointment of Roxana del Toro Lopez and Ana

 4   Medina as Class Representatives of the Rule 23 Class and the nationwide FLSA Class under

 5   section 16(b). The Court finds and determines that the award of $50,000 to Ms. del Toro Lopez

 6   and $30,000 to Ms. Medina for their services as Class Representatives, in addition to their

 7   Individual Settlement Payments, is fair and reasonable.

 8          15.     Plaintiffs have satisfied the criteria as set forth in Staton, 327 F.3d 938. Under

 9   Staton, service awards should be evaluated using “relevant factors, includ[ing] the actions the

10   plaintiff has taken to protect the interests of the class, the degree to which the class has benefitted

11   from those actions, . . . the amount of time and effort the plaintiff expended in pursuing the

12   litigation . . . and reasonabl[e] fear[s of] workplace retaliation.” Id. at 977 (internal quotation

13   marks omitted) (alterations in original). Here, the Class Representatives’ initiation of this suit

14   caused them personal exposure and potential adverse consequences with future employers.

15          16.     Ms. del Toro Lopez and Ms. Medina were substantially involved throughout the

16   litigation, educating Class Counsel regarding Class Members’ job duties and Uber’s policies and

17   procedures. The Court hereby approves the Class Representative Service Awards as set forth

18   herein, to be made to Class Representatives out of the Qualified Settlement Fund in accordance

19   with the terms of the Settlement.

20          Appointment of Class Counsel; Attorneys’ Fees and Costs

21          17.     The Court hereby finds that the requested payment of $2,500,000 in attorneys’

22   fees and $152,958 in litigation costs and expenses, for a total payment of $2,652,958 to Class

23   Counsel, is fair and reasonable and orders that payment be made to Class Counsel out of the

24   Gross Fund Value in accordance with the terms of the Settlement. See, e.g., Vizcaino v.

25   Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002); In re Wash. Pub. Power Supply Sec. Litig., 19

26   F.3d 1291, 1297 (9th Cir. 1994). First, in granting the award, the Court recognizes that the fee is

27   25% of the total fund, which is consistent with the Ninth Circuit’s 25% “benchmark” for class

28
                                                                         [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                              FINAL JUDGMENT
                                                   -5-                                 CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR             Document 72        Filed 11/14/18       Page 7 of 45




 1   action settlements, In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 942 (9th Cir.

 2   2011), and the norm in this district in cases involving comparable common funds. See e.g.

 3   Hopwood v. Nuance Commc’ns, Inc., No. 4:13-cv-02132-YGR, 2015 WL 12941896, at *2 (N.D.

 4   Cal. Oct. 28, 2015) (finding 25% of common fund of $6,500,000 to be fair and reasonable);

 5   Pimental v. Google Inc., No. 11-cv-02585-YGR, 2013 WL 12177158, at *3 (N.D. Cal. June 26,

 6   2013) (finding 25% of common fund of $6,000,000 to be fair and reasonable). Second, while it

 7   is difficult to monetize the value of the injunctive relief, “[t]he fact that [class] counsel obtained

 8   injunctive relief in addition to monetary relief for their clients is . . . a relevant circumstance to

 9   consider in determining what percentage of the fund is reasonable as fees.” Staton, 327 F.3d at

10   946. Third, the Settlement contemplates that during the injunctive period, Class Counsel will

11   continue to engage for three years without payment to monitor the programmatic relief that Uber

12   has undertaken. These efforts are to be completed in addition to the hours noted.

13           Fourth, under a lodestar cross-check, the lodestar multiplier of 2.9x supports the fee

14   award. See id. at 968. Class Counsel attest to performing substantial work on behalf of the Class

15   Members, totaling $856,314 in lodestar. Except as set forth below, the Court finds the hours

16   worked by Class Counsel to have been reasonably incurred for the benefit of the Class Members.

17   Class Counsel’s hourly rates, ranging from $250 to $850 for attorneys, are reasonable in light of

18   the market for legal services of this type and quality. In addition, Class Counsel attested at the

19   final approval hearing that the matter was leanly staffed, with the bulk of the work performed by

20   two associates and one partner. Moreover, the Court finds the fact that only one law firm was

21   involved in representing the Class Members mitigates against the risk of duplicative work. The

22   Court hereby confirms as final the appointment of Adam T. Klein, Jahan C. Sagafi, Rachel Bien,

23   Rachel Williams Dempsey, and Iris Mattes of Outten & Golden LLP as Class Counsel for the

24   Rule 23 and FLSA Classes. Class Counsel has capably and effectively represented the Class

25   Members’ interests.

26           Notwithstanding the foregoing, and as stated on the record at the final approval hearing,

27   the Court finds that certain factors have contributed to an inflated lodestar figure. For example,

28
                                                                          [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                               FINAL JUDGMENT
                                                    -6-                                 CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR           Document 72         Filed 11/14/18      Page 8 of 45




 1   Class Counsel charged excessively high hourly rates for work performed by its contract and staff

 2   attorneys, ranging from $280 to $425, in contrast to the $25 to $75 that these individuals are

 3   actually paid, excluding benefits. Moreover, having reviewed the billing timesheets submitted to

 4   the Court at the final approval hearing, the Court finds Class Counsel’s charges for

 5   administrative tasks at attorney and paralegal rates, as opposed to nonchargeable administrative

 6   overhead, to be inappropriate. Such charges include, inter alia, booking travel to the mediation,

 7   processing reimbursement requests for mediation-related travel, transcribing voicemails, and

 8   formatting motions. In addition, while there may have been internal reasons for having four

 9   attorneys attend the mediation, charging the Class Members for the attendance of all four

10   attorneys is not appropriate. The Court also finds that Class Counsel should not be compensated

11   for time spent on media-related activity, especially since there is no indication in the billing

12   timesheets or elsewhere that any such activity was “directly and intimately related to the

13   successful representation of [the Class Members]” or “contribute[d], directly and substantially, to

14   the attainment of [the] litigation goals.” L.H. v. Schwarzenegger, 645 F. Supp. 2d 888, 900 (E.D.

15   Cal. 2009) (internal quotation marks omitted).

16          In light of the above, the Court would typically reduce the award accordingly, and Class

17   Counsel are so admonished. However, the Court finds that the amount of any reduction is offset

18   by the work Class Counsel will be performing over the next three years without payment to

19   monitor the programmatic relief that Uber has undertaken. Accordingly, the Court approves the

20   requested award.

21          Settlement Administrator Report

22          18.     Upon completion of administration of the Settlement, the Settlement

23   Administrator, JND Legal Administration, will provide written certification of such completion

24   to the Court and counsel for the Parties.

25          Compliance Hearing re: Post-Distribution Accounting

26          19.     The Court hereby SETS a compliance hearing for Friday, January 18, 2019 on

27   the Court’s 9:01 a.m. calendar in the Federal Building, 1301 Clay Street, Oakland, California in

28
                                                                        [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                             FINAL JUDGMENT
                                                  -7-                                 CASE NO. 17-CV-06255-YGR
            Case 4:17-cv-06255-YGR            Document 72        Filed 11/14/18      Page 9 of 45




 1   Courtroom 1. No later than five (5) business days prior to the date of the hearing, the parties

 2   shall file a Post-Distribution Accounting in compliance with this District’s Procedural Guidance

 3   for Class Action Settlements, see

 4   https://www.cand.uscourts.gov/ClassActionSettlementGuidance.

 5          If compliance is complete, the parties need not appear, and the compliance hearing will

 6   be taken off calendar.

 7          Release

 8          20.     By operation of the entry of this Final Approval Order and pursuant to the

 9   Settlement, all Qualified Claimants are permanently barred from prosecuting against Uber any

10   Claim as set forth in Section 12 of the Settlement. The Court has reviewed the release in Section

11   12 of the Settlement and finds it to be fair, reasonable, and enforceable under Rule 23, the FLSA,

12   and all other applicable law.

13          Contingency on Finality

14          21.     If, for any reason, the Settlement ultimately does not become Final (as defined in

15   the Settlement, Section 1.10), this Final Approval Order will be vacated; the Parties will return to

16   their respective positions in this action as those positions existed immediately before the parties

17   executed the Settlement; and nothing stated in the Settlement or any other papers filed with this

18   Court in connection with the Settlement will be deemed an admission of any kind by any of the

19   Parties or used as evidence against, or over the objection of, any of the Parties for any purpose in

20   this action or in any other action.

21          Final Judgment and Dismissal

22          22.     By means of this Final Approval Order, this Court hereby enters final judgment in

23   this action, as defined in Federal Rule of Civil Procedure 58(a)(1).

24          23.     Without affecting the finality of the Court’s judgment in any way, the Court

25   retains jurisdiction over this matter, for a period of three (3) years, for purposes of resolving

26   issues relating to interpretation, administration, implementation, effectuation, and enforcement of

27   the Settlement. Nothing in this Final Approval Order will preclude any action to enforce the

28
                                                                        [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                             FINAL JUDGMENT
                                                  -8-                                 CASE NO. 17-CV-06255-YGR
           Case 4:17-cv-06255-YGR          Document 72        Filed 11/14/18        Page 10 of 45




 1   Parties’ obligations under the Settlement or under this order, including the requirement that Uber

 2   make the settlement payments in accordance with the terms of the Settlement.

 3          24.     The Parties are hereby ordered to comply with the terms of the Settlement.

 4          25.     This action is dismissed with prejudice, each side to bear its own costs and

 5   attorneys’ fees except as provided by the Settlement and the Court’s orders.

 6

 7

 8          Dated: November 14, 2018
                                                  The Honorable Yvonne Gonzalez Rogers
 9                                                United States District Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                      [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                           FINAL JUDGMENT
                                                 -9-                                CASE NO. 17-CV-06255-YGR
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 11 of 45




                         EXHIBIT 1
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 12 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 13 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 14 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 15 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 16 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 17 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 18 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 19 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 20 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 21 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 22 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 23 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 24 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 25 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 26 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 27 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 28 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 29 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 30 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 31 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 32 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 33 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 34 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 35 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 36 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 37 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 38 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 39 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 40 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 41 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 42 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 43 of 45
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 44 of 45



              
Case 4:17-cv-06255-YGR   Document 72   Filed 11/14/18   Page 45 of 45
